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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Grayson−Bey,

                                   Plaintiff(s),

v.                                                     Case No. 2:19−cv−13588−NGE−DRG
                                                       Hon. Nancy G. Edmunds
Southfield Police Department, et
al.,

                                   Defendant(s).




                                  CERTIFICATE OF SERVICE

   I hereby certify that a copy of the Notice(s) of Appeal filed in this case and this Certificate
of Service was served upon:

                    United States Court of Appeals for the Sixth Circuit
                    Potter Stewart U.S. Courthouse
                    100 East Fifth Street, Fifth Floor
                    Cincinnati, OH 45202−3988

and all interested parties, by electronic means or first class U.S. mail, on January 11, 2021.




                                                   KINIKIA D. ESSIX, CLERK OF COURT


                                               By: s/ S. Schoenherr
                                                   Deputy Clerk


Dated: January 11, 2021
